Exhibit 6

USWGO
QANON // DRAIN THE SWAMP

   

PETITION FOR WRIT OF HABEAS CORPUS
MARTINSVILLE GENERAL DISTRICT COURT CASE NO. C18-3138
MARTINSVILLE CIRCUIT COURT CASE NO. CR19000009-00

Exhibit in attachment to “BRIEF AND EXHIBITS IN SUPPORT OF PETITION FOR
WRIT OF HABEAS CORPUS”

Case 1:123-cr-00435-TDS Document 221-7 Filed 11/20/19 Pane 1 of 3
IACC Subcommittee Diagnostic Criteria - DSM-5 Planning Group | [ACC __https://iacc.hhs.gov/about-iacc/subcommittees/resources/dsm5-diagnostic...

U.S. Department of Health & Human Services

IACC Home > About IACC > Subcommittees > DSM-5 Diagnostic Criteria

DSM-5 Diagnostic Criteria

* Autism Spectrum Disorder
e Social (Pragmatic) Communication Disorder
e Table 2: Severity Levels for Autism Spectrum Disorder

Autism Spectrum Disorder
Diagnostic Criteria 299.00 (F84.0)

« Persistent deficits in social communication and social interaction across multiple contexts, as manifested by the following, currently or by
history (examples are illustrative, not exhaustive; see text):

© Deficits in social-emotional reciprocity, ranging, for example, from abnormal social approach and failure of normal back-and-forth
conversation; to reduced sharing of interests, emotions, or affect; to failure to initiate or respond to social interactions.

* Deficits in nonverbal communicative behaviors used for social interaction, ranging, for example, from poorly integrated verbal and
nonverbal communication; to abnormalities in eye contact and body language or deficits in understanding and use of gestures; to a total
lack of facial expressions and nonverbal communication.

« Deficits in developing, maintaining, and understanding relationships, ranging, for example, from difficulties adjusting behavior to suit
various social contexts; to difficulties in sharing imaginative play or making friends; to absence of interest in peers.

Specify current severity:

octal a on social communication impairments and restricted, repetitive patterns of behavior
see Table 2).

« Restricted, repetitive patterns of behavior, interests, or activities, as manifested by at least two of the following, currently or by history
(examples are illustrative, not exhaustive; see text):

* Stereotyped or repetitive motor movements, use of objects, or speech (e.g., simple motor stereotypies, lining up toys or flipping objects,
echolalia, idiosyncratic phrases).

* Insistence on sameness, inflexible adherence to routines, or ritualized patterns of verbal or nonverbal behavior (e.g., extreme distress at
small changes, difficulties with transitions, rigid thinking patterns, greeting rituals, need to take same route or eat same food every day).

* Highly restricted, fixated interests that are abnormal in intensity or focus (e.g., strong attachment to or preoccupation with unusual
objects, excessively circumscribed or perseverative interests).

* Hyper- or hyporeactivity to sensory input or unusual interest in sensory aspects of the environment (e.g., apparent indifference to
pain/temperature, adverse response to specific sounds or textures, excessive smelling or touching of objects, visual fascination with
lights or movement).

Specify current severity:
Severity is based on social communication impairments and restricted, repetitive patterns of behavior
(see Table 2).

* Symptoms must be present in the early developmental period (but may not become fully manifest until social demands exceed limited
capacities, or may be masked by learned strategies in later life).

« Symptoms cause Clinically significant impairment in social, occupational, or other important areas of current functioning.

* These disturbances are not better explained by intellectual disability (intellectual developmental disorder) or global developmental delay.
Intellectual disability and autism spectrum disorder frequently co-occur; to make comorbid diagnoses of autism spectrum disorder and
intellectual disability, social communication should be below that expected for general developmental level.

Note: Individuals with a well-established DSM-IV diagnosis of autistic disorder, Asperger's disorder, or pervasive developmental disorder not
otherwise specified should be given the diagnosis of autism spectrum disorder. Individuals who have marked deficits in social communication, but
whose symptoms do not otherwise meet criteria for autism spectrum disorder, should be evaluated for social (pragmatic) communication disorder.

Specify if:
With or without accompanying intellectual impairment

With or without accompanying language impairment

Associated with a known medical or genetic condition or environmental factor (Coding note: Use additional code[s] to identify the
associated medical or genetic condition.)

Associated with another neurodevelopmental, mental, or behavioral disorder (Coding note: Use additional code{s] to identify the

1 of 2 11/15/2019, 5:39 PM
Case 1:123-cr-00435-TDS Document 221-7 Filed 11/20/19 Pane ? of 3
IACC Subcommittee Diagnostic Criteria - DSM-5 Planning Group | [ACC __https://iacc.hhs.gov/about-iacc/subcommittees/resources/dsm5-diagnostic...

associated neurodevelopmental, mental, or behavioral disorder[s].)

With catatonia (refer to the criteria for catatonia associated with another mental disorder, pp. 119-120, for definition) (Coding note: Use
additional code 293.89 [F06.1] catatonia associated with autism spectrum disorder to indicate the presence of co-morbid catatonia.)

Social (Pragmatic) Communication Disorder
Diagnostic Criteria 315.39 (F80-.89)

« Persistent difficulties in the social use of verbal and nonverbal communication as manifested by all of the following:

Deficits in using communication for social purposes, such as greeting and sharing information, in a manger that is appropriate for the
social context.

* Impairment of the ability to change communication to match context or the needs of the listener, such as speaking differently in a
classroom than on a playground, talking differently to a child than to an adult, and avoiding use of overly formal language.

* Difficulties following rules for conversation and storytelling, such as taking turns in conversation, rephrasing when misunderstood, and
knowing how to use verbal and nonverbal signals to regulate interaction.

« Difficulties understanding what is not explicitly stated (e.g., making inferences) and nonliteral or ambiguous meanings of language (e.g.,
idioms, humor, metaphors, multiple meanings that depend on the context for interpretation).

¢ The deficits result in functional limitations in effective communication, social participation, social relationships, academic achievement, or
occupational performance, individually or in combination.

« The onset of the symptoms is in the early developmental period (but deficits may not become fully manifest until social communication
demands exceed limited capacities).

* The symptoms are not attributable to another medical or neurological condition or to low abilities in the domains of word structure and
grammar, and not better explained by autism spectrum disorder, intellectual disability (intellectual developmental disorder), global
development delay, or another mental disorder.

Table 2: Severity Levels for Autism Spectrum Disorder

Severity Level Social Communication Restricted, repetitive behaviors
Level 3 Severe deficits in verbal and nonverbal social communication skills cause severe Inflexibility of behavior, extreme difficulty coping with
“Requiring impairments in functioning, very limited initiation of social interactions, and minimal change, or other restricted/repetitive behaviors
very response to social overtures from others. For example, a person with few words of markedly interferes with functioning in all spheres.
substantial intelligible speech who rarely initiates interaction and, when he or she does, makes Great distress/difficulty changing focus or action.
support" unusual approaches to meet needs only and responds to only very direct social

approaches.
Level 2 Marked deficits in verbal and nonverbal social communication skills, social impairments _Inflexibility of behavior, difficulty coping with change, or
"Requiring apparent even with supports in place; limited initiation of social interactions; and other restricted/repetitive behaviors appear frequently
substantial reduced or abnormal responses to social overtures from others. For example, a person enough to be obvious to the casual observer and
support” who speaks in simple sentences whose interaction is limited to narrow special interests, interfere with functioning in a variety of contexts.

and who has markedly odd nonverbal communication. Distress and/or difficulty changing focus or action.
Level 1 Without supports in place, deficits in social communication cause noticeable inflexibility of behavior causes significant interference
"Requiring impairments. Difficulty initiating social interactions, and clear examples of atypical or with functioning in one or more contexts. Difficulty
support” unsuccessful responses to social overtures from others. May appear to have decreased switching between activities. Problems of organization

interest in social interactions. For example, a person who is able to speak in full and planning hamper independence.

sentences and engages in communication but whose to-and-fro conversation with
others fails, and whose attempts to make friends are odd and typically unsuccessful.

Reprinted with permission from American Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition, Copyright
© 2013. American Psychiatric Association. All Rights Reserved. Permission from the APA is required to reproduce DSM-5 Criteria and any
Related Tables.

2 of 2 11/15/2019, 5:39 PM
Case 1:123-cr-00435-TDS Document 221-7 Filed 11/20/19 Pane 2 of 3
